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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

In re: CASE NO.: 05-40913-BKC-LMI
Chapter 7
MMH AUTOMOTIVE GROUP, LLC

Debtor.
/

TRUSTEE’S MOTION FOR ORDER (1) APPROVING SALE OF REAL
PROPERTY FREE AND CLEAR OF LIENS AND ENCUMBRANCES; AND
(2) AUTHORIZING PAYMENT OF FIRST MORTGAGE, REAL ESTATE
TAXES, BREAKUP FEE AND ANY OTHER LIENS, COSTS OR ENCUMBRANCES

Joel L. Tabas, Chapter 7 Trustee of the bankruptcy estate of MMH Automotive
Group, LLC (“Trustee/Plaintiff’), through counsel, pursuant to 11 U.S.C. § 363, Rule 6004
of the Federal Rules of Bankruptcy Procedure and Local Rule 6004-1(B), hereby files his
Motion for Order (1) Approving Sale of Real Property Free and Clear of Liens and
Encumbrances; and (2) Authorizing Payment of First Mortgage, Real Estate Taxes,
Breakup Fee and Any Other Liens, Costs or Encumbrances (the “Motion”), and as grounds
therefore states as follows:

Jurisdiction and Venue

1. The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and
1334.

2. This is a “core” proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), and (N).

3. Venue is proper in this jurisdiction pursuant to 28 U.S.C. §§ 1408 and 1409.

Procedural and Factual Background

4. On September 25, 2005, the Debtor, MMH Automotive Group, LLC (“MMH”),

filed a voluntary Chapter 7 petition. On September 27, 2005, the Trustee was appointed

as Chapter 7 Trustee for MMH.

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5. On February 2, 2006, the Trustee/Plaintiff filed his Amended Complaint to
Avoid Fraudulent Transfers and to Recover Property against Global Automotive Group,
LLC (“Global”) and G.A.G. Realty, Inc. (“GAG”)(Global and GAG shall be collectively
referred to as “Defendants”) pursuant to 11 U.S.C. §§ 548 and 550 (the “Amended
Complaint”). The transfers sought to be avoided included (a) a Mazda Dealership and
related assets (collectively the “Dealership Assets”) transferred to Global on August 8,
2005 and (b) the Real Property upon which the Dealership is situated transferred to GAG
on July 13, 2005 (the “Real Property”).

6. On January 26, 2007, this Court entered its Second Amended Final
Judgment Against Global Automotive Group, LLC and G.A.G. Realty, Inc. (D.E. #233) (the
“Judgment’), pursuant to which, the transfer of the Real Property’ to the Defendant, GAG,
was determined to be an avoidable transfer pursuant to 11 U.S.C. §§ 548(a)(1)(A) and
548(a)(1)(B) and said transfer was avoided.

7. Therefore, the Trustee now holds title to the Real Property.

The Proposed Sale

THE SALE OF THE PROPERTY IS “AS IS”, AND WITHOUT

WARRANTIES OF ANY NATURE AND FREE AND CLEAR OF LIENS,

SECURITY INTERESTS, AND ENCUMBRANCES.

8. The Trustee has received an offer from S.A.G. Realty, LLC (the “Proposed
Buyer” or “SAG”) to purchase the Real Property for the sum of Five Million Dollars

($5,000,000.00) free and clear of liens and encumbrances (the “Proposed Sale”).

‘The underlying real property upon which the Mazda Dealership is situated, commonly known as
18010 S. Dixie Highway, Miami, FL 33157 is referred to as the “Real Property”.

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9. The Trustee and SAG have entered into a Commercial Contract subject to
Bankruptcy Court Approval, dated February 12, 2007 (the “Contract”). A true and correct
copy of the Contract is attached hereto as Exhibit “1".

10. As of February 13, 2007, the Trustee has received in escrow the deposit
required by the Contract of $100,000.00.

11. The Trustee believes that the value of the Estate’s interest in the Real
Property will be maximized if the Trustee is authorized to sell the Real Property to SAG.

12. |The Trustee requests this Court to approve the Proposed Sale and Contract
out of the ordinary course of business, pursuant to 11 U.S.C. § 363(b), which states: “[t]he
Trustee, after notice and hearing, may use, sell, or lease, other than in the ordinary course
of business, property of the estate.”

13. | Because the Trustee and SAG have each acted in good faith, the Trustee
believes that SAG is entitled to the protections of a good faith purchaser under 11 U.S.C.
§ 363(m). In the absence of a stay pending appeal, the Trustee seeks authority to close
on the Proposed Sale and Contract on or before March 15, 2007.

14. | The Trustee believes that the offer tendered by SAG is the highest and best
price currently available for the Real Property. Thus, the proposed sale to SAG is in the
best interest of the Estate and all creditors.

Sale Free and Clear

15. The Trustee believes, however, that certain creditors may assert liens or
other interests against the Real Property being sold to SAG, including Miami-Dade County
for taxes and 1* National Bank of South Florida, which holds the first mortgage on the Real

Property.

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16. To the extent necessary, the Trustee requests that this Court approve the
sale of the Real Property to SAG free and clear of any liens, claims and encumbrances
pursuant to 11 U.S.C. § 363(f), with such liens, claims or encumbrances, if any, attaching
to the sale proceeds. Section 363(f) allows a debtor-in-possession to:

... sell property under subsection (b)... of this section free and
clear of any interest in such property of an entity other than the
estate, only if —

(1) applicable nonbankruptcy law permits sale of such property free and
clear of such interest;

(2) such entity consents;

(3) suchinterest is a lien and the price at which such property is to be sold
is greater than the aggregate value of all liens on such property;

(4) such interest is in bona fide dispute; or

(5) such entity could be compelled, in a legal or equitable proceeding, to
accept a money satisfaction of such interest.

11 U.S.C. § 363(f).

17. |The Trustee may sell assets free and clear of liens and interests in such
property, because applicable non-bankruptcy law permits the sale in accordance with
§363(f)(1), because the creditors with competing interests therein have consented pursuant
to §363(f)(2), because the claimed interests are subject to a bona fide dispute, in
accordance with §363(f)(4), and because these creditors could be compelled, in a legal or

equitable proceeding, to accept a money satisfaction of such interest, pursuant to

§363(f)(5).

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18. | Moreover, any creditors with valid interests in the assets will be protected
insofar as their interests, if any, will attach to the proceeds of the sale. See, e.g., In re
Lady H Coal Co., Inc., 193 B.R. 233 (Bankr. S.D. W.Va. 1996); /n re Creative Restaurant
Management, Inc., 141 B.R. 173 (Bankr. W.D. Mo. 1992) (vacated upon settlement and
request of parties, 150 B.R. 232).

19. | The proposed sale of the Real Property pursuant to this Motion is permitted
by the Bankruptcy Code. 11 U.S.C § 363(b); /n re Continental Airlines, Inc., 780 F.2d 1223
(5" Cir. 1986); Stephens Industries, Inc. v. McClung, 789 F.2d 386 (6" Cir. 1986).

Sound Business Purpose

20. Withrespectto satisfying the elements of the "sound business purpose" test”,
the Trustee asserts that the sale of the Real Property to SAG will maximize the value of the
Estate’s interest in the Real Property, as the Real Property is not currently generating
revenue for the Estate. In addition, creditors and other parties in interest will receive
accurate and reasonable notice of the terms of the Proposed Sale through this Motion.
The consideration for the Proposed Sale is adequate and reasonable under the
circumstances. The proceeds should be sufficient to provide creditors with a very high
percentage recovery on their claims. Thus, the Proposed Sale to SAG is in the best
interest of the Estate and all creditors.

21. Without approval of the Proposed Sale, there is no assurance that the

Trustee will be able to equally monetize the Estate’s interest in the Real Property in the

2 See In re Continental Airlines, Inc., 780 F.2d 1223, 1226 (5" Cir. 1986).

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near future. What is assured, however, is the continued accrual of interest due on the
mortgage at default rate and real property taxes.

Consideration of Competing Bids

22. Under 11 U.S.C. § 363, the Proposed Sale is subject to higher and better
offers.

23. At the hearing, the Court shall select the highest and best bid for the Real
Property after considering the recommendations of the Trustee and other interested
parties.

Requested Bid Procedures

24. Any party wishing to submit a higher and better offer for the Real Property
shall be required to tender a $100,000.00 bid deposit, in cleared funds, twenty four (24)
hours prior to the hearing on this Motion. The bidding shall be conducted at the hearing
in $100,000.00 increments.

25. Additionally, pursuant to Contract, the Trustee is required to seek approval
of this Court for a Breakup Fee in the amount of $10,000.00 (the “Breakup Fee”) due to
SAG if SAG is not approved or the successful purchaser of the Real Property.

26. Accordingly, the Trustee requests that any and all subsequent purchase
offer(s) on the Real Property (other than those made by SAG), at the time of the hearing
on the approval of the sale described in this Motion, be required to include the Breakup
Fee as part of said offer(s).

27. Moreover, unless otherwise provided by the Court, any successful bidder

other than SAG must immediately enter into a contract for the purchase of the Real

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Property in substantially the same form as the Contract and be willing to close within three
(3) business days as provided below.
Closing
28. The Trustee seeks authority to close on the sale of the Real Property
immediately upon Court approval, with SAG or the successful bidder required to pay the
purchase price within three (3) business days of the Court’s approval. If SAG or the
successful bidder, as the case may be, fails to timely close, the Trustee seeks authority to
close the sale transaction with the next highest bidder (the "Back-up Bidder"). The Back-
up Bidder shall similarly be required to close within three (3) business days of the Court’s
approval of the sale.

Authorization to Pay First Mortgage, Real Estate Taxes, Breakup Fee
and Any Other Liens, Costs or Encumbrances

29. The first mortgage on the Real Property is held by 1* National Bank of South
Florida in the approximate amount of $2,588,649.36. However, to date, the Trustee has
not received the benefit of review and approval of the breakdown of the estoppel figures
provided by 1* National Bank of South Florida.

30. Currently property taxes are due on the Real Property to Miami-Dade County
in the approximate amount of $347,291.62.

31. | The Trustee seeks approval to pay the first mortgage on the Real Property
to 1*' National Bank of South Florida and the property taxes to Miami-Dade County, once
he has had an opportunity to review and establish the proper amounts due and owing.

32. The Trustee also seeks approval to disburse the Breakup Fee to SAG within

ten (10) days from the Closing Date.

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33. Finally, the Trustee seeks approval of payment of any other liens, costs or
encumbrances for which the Trustee is responsible pursuant to the terms of the Contract,
or which the Trustee otherwise deems necessary to effectuate the sale and transfer of the
Real Property free and clear of liens and encumbrances.

WHEREFORE, Joel L. Tabas, as Chapter 7 Trustee of the bankruptcy estate of
MMH Automotive Group, LLC , requests that this Court enter an Order:

A. Approving the sale of the Real Property for the purchase price of
$5,000,000.00;

B. Authorizing the following payments after review and establishment by the
Trustee of the proper amounts due and owing, if any:

(i) payment of the first mortgage due to 1* National Bank of South Florida of
approximately $2,588,649.36 plus any pending amount due at the time of payment, as full
and final satisfaction of 1** National Bank of South Florida’s mortgage on the Property;

(ii) payment of all outstanding property taxes due to Miami-Dade County of
approximately $347,291.62, plus any pending amount due at the time of payment;

(iii) payment of the Breakup Fee in the amount of $10,000.00 due to SAG if
SAG is not approved or the successful purchaser of the Real Property;

(iv) payment of any liens, costs or encumbrances for which the Trustee is
responsible pursuant to the terms of the Contract, or which the Trustee otherwise deems
necessary to effectuate the sale and transfer of the Real Property free and clear of liens
and encumbrances; and

(v) authorizing the Trustee to execute any and all documents necessary to

effectuate the transaction described herein; and

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C. For such other and further relief as the Court deems just and proper.

CERTIFICATE OF SERVICE

| HEREBY CERTIFY that a true and correct copy of the foregoing was furnished via
electronic transmission or U.S. Mail this 14° day of February, 2007, to: Gregory Garno,
Esquire, Genovese, Joblove & Battista, P.A., Attorneys for Global Automotive Group, LLC,
and G.A.G. Realty, Inc.,100 S.E. Second St., 44th Floor, Miami, FL 33131; Rod Rifai, c/o
Kendall Kia, 17120 South Dixie Hwy, Miami, Florida 33157; Robert A. Bass, Esquire,
Myers & Fuiler, P.A., 2822 Remington Green Cir., Tallahassee, FL 32312; Steven Mishan,
Esquire, Law Offices of Steven Mishan, P.A., 848 Brickell Avenue, Suite 1100, Miami,
Florida 33131, and all other interested parties listed on the attached service list.

Respectfully Submitted,

/s/ Gary M. Freedman
Gary M. Freedman
Florida Bar No.: 727260
TABAS, FREEDMAN, SOLOFF & MILLER, P.A.
Attorneys for Joel L. Tabas, Trustee
25 Southeast 2™ Avenue - Suite 919
Miami, Florida 33131-1538
Telephone: (305) 375-8171
Telefax: (305) 381-7708
E-mail: gfreedman@tfsmlaw.com

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i (b) Que Digenag Periyu: Buyre will, at Buyore opense and within FO. -. days from Effective Date ("Bue
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Use and development of the Property as Speciied in Paragraph 4, During the Due Diligence Perlod, Buyer may Boridust any
lests, analyses, Surveys tng Investigatians Minzpeoticns') which Buyer decma Necessary lo Yctermine
BOkbfection: tie Propeny’s enginsering, archileciural, ényionmental Propenies; zoning a
designation ang resiictians: supdivision regulations; soil and §fada? availability of acces
Villgies: congistency with local, stute and regional growth management and compreheriaiv
DeMmits, government 8pf “ovale und teenses: Sompliance wih American with Disabilities Act: absence

gfOUnd water contaminatiua: and other

a36NWs, contactors eng HSsigns, the right 10 enter Ine Property at any time during the Oue Dilfoence Period far the purpogK
igns (he Property and

of candueting Inspections oravided, however, tha; Buyer. iiz BOENS, contra n :
armless from josseg camages, costs, elairns

CONGUCL Inspections at heir own risk, Buyer snail indamnity and hold Seller harn , Ga
and expenses of any neture, including attomeys' fees atall levels, ang fram lability to any pergon, ansing from the ennduct

of any and ai) inspections or Bry work authorizee by Buyer, Buyer wit! not engege in any actvily that coula result in a
i In the event this transaction dees rat

Mechanica flen ECing Tile Sgainst the Property without Sellers priar writlan consant,
close, (1) Buyer shall regiair all damages ta the Property resulting from tbe Inspections ana return he Propeny to the
condition it waa in Paar lo conduct of the inspections, and (2) Buyer shall, al Buyer's expense, release to Seller al reports
85 other work 2eN@ratec az o result wf the Inspecilons. Should Buyer deliver urnély netiog that ne Propeny is noi
all 5& immediytely rewmed to Buyer and the Contract terminated,

Buyer EE, (____l ana Setlor Jt ) ecknowledge racial of 3 apy of this Page. which ic Page 3 of $ Pages,
20 19" Fiance Pizouinuen of Restore AN gms f25orv0g, Licantea le Ana Sar Schwan. :
= All Rights Reserved, (305) 27a.2apa

Sorware and Added rotmatieng Copyriaht2a04 Alta Star Sofware, inc.
Case 05-40913-LMI Doc 202 Filed 02/14/07 Page 13-0f 22

top STK ty fora neptote DA. PR my Fp iy pi To19-669) Grea CHS ttihe—ndily-pereeol re to the. Pa es,
é $e the Ghar ‘ f-PAlyer ‘ ' ‘i he th iz—peroseok ined. he AR mdi
Bropsty le catho sraminec,

(d) Disclasures: . . to
1. Radon Gas: Raden ig 3 naturally occuring radioactive 98S that, when it has accurnulaied in a building in aufficiant
quantities, may preseint health cisks lo parcone whe ara Oxpesed tet Over die, Levels oT fadon that exceed federal and
ztal@ guidelines live geen tound in buildings in Florida, Additional infornation regarding radon and radon testing may be:
abiained trom your cotunty publle tealth unit
2. Enbrgy Efficiency: Buyer may have delermined the Cherey eificiancy rating of the bullding, if any is iecated an thes
Real Propeny,

J Ne 7

8. OPERATION OF PROPERTY DURING CONTRACT PERIOD- Saller will “continue iw apérata the Propeny and any
VOLTS: Theta ke, Went -eulLa

business conducied on ue Properly. imtheemenneoperciepe ORAFath orwell . 5h,
pet ner Neos eee aaa tage ace Oa at

Proporty-y)

3. RETURN OF DEPOSIT: Unless otherwise specified in the Contract, in the évent any candhion of this Contract is nol mat
and Buyer hag timely given any required notices magarding the condition having adg¥ been sitel, Duyer's gepash will be returned
In ccurdance with @pplicésle Florida taws and regulations, . i

f
>

10. DEFAULT: oo
{a) In the event the wale Is Not closed due to any aefsut, or fatlure on the part or Sellar other than failure lo make the. title
Maikevable after diligen: efor, Buyer ray either (1) receive a refund of Buyers  depasil(x) or ©) seek specific
parformance, |F Suyer clecta w desesit refund, Seller will be ligdle to Broker for the full amount of the brokerage fee, .

(6) In the event the sale is not closed dug to any default or failure an the part of Buyer, Soller may ésither (1) retain, al)
Fépasit(s) paid or 49/860 to be pald by Buyer as agreed upon liquidate demuges, consideration for the execulion of this
Contract, and In full SeClemant of any claims, upon which this Contract will tarminale or (2) Seek specific rerformanen 4
Donerretaingsth Sie Sob emwilipayike-Licti Wg -enid-Banzye é tin Reraghiph—totty-peresatatall
Fone A IRI bySelerte-bedpitocsticomeng no acan gape rea ann ety gen

11. ATTORNEY'S FEES AYOCOSTS: In any claim or controversy Snzuig oUt of or relating tu this Contract, the prevailing
Party. which for PUBoebe ef this provision will include Buyer, Seller oerd—Brahee, will ba awarded reacanabie atornsyx' tees,
CORTE Ariel Expensodg, i

12. BROKERS: Neither Buycy nor Sellar has utilized the services of. of far any other reason awes compensation ta, 3
dicensed veal estate Broker other then:

(3) Listing Broken My Ft .
whois © anapenpet 7

O) 2 transaction breker LY OG Honreprezentatve and who will be
compensated by CI Seller Buyer Cl botq parties pursuaatto [i 2 fisting agreemant [) ather (specify):

(b) Coop erating Broke: WA ‘

who 13 3n agent oi!
Oa tensaction brokve LY 4 nunepresentallve and who will be Lo
compensated by Cl Buyer C Seller Cl both panies pursuanttc (Cl an MLS or other offer of compensation lo a

“operating broker 2 other (spectty) ey es
(collectively refecrad to as Broker) In conguction wilh bey 3 relating to ma Property, Including But nat limited 10 Inquiries,
introductions, Consultations and negatiations resulting in this transaction, Sellar and Buyer agres to indemnify and noid Broker
harmless from and agains: losses, damages, COS and expensas of any kind, Including reasanable attorneys’ fees at all
levels, and frorn liability to any hereon, arising from (1) companaation clainied whith Is Ineonsiaran: with the sepcexentavan In
Inis Paragraph, (2) enforce nent action to cullect % brokerage Yee pursuant to Paragraph 10, (3) any dul

al Ihe request of Buyer or Seller, which duty is beyond the Scope of services regulated by Chagner 475,
(4) recommendations of OF Barvices provided a i i

retains Tor or on benalr of Buyor ar Seller,

Ty, and ohenulse & {2 nor

73. ASSIGNABILITY; PERSONS Bouo: Tnls Conract May DE Gtsignes to a related enn at
nding

3asignable 1 je designahle: The terns “Buyer,” “Seller and "Broker may be singular or plural. This Contract is bi
Ubon Buyer, Seller and the r heirs, personal roprescniauves, successara and assigns (if assignment is permitted),

‘Buyer and Seller (brn { ) acknowledge (eezipt of a copy of THis Page, which is Page 4 of 5 Pages,
Yaserved Licers: ,

ope 1557 Fichaa AXociaiin of Kyusew, Ay figh 64 lo Ala Stor Sefavare,
Softvrave and Addeg Formaring Copyright 2004 alta Star Software, lnc. All Rights Reserved. (205) z7g.yuog ‘
. Date,

ee
Case 05-40913-LMI Doc 202 Fitec-62/14/67—Page

6 OPTIOMAL CLAUDES: (Check amen ne iolewiing clauses are applicable ang are sachs SS an adaandum to this Contract):
Arbitration Cller Werrarity . Exlstin ngage ‘of

a Section 1034 Exchiinge Q Cozstal Construction Corral Ling Othor pespasasa 4 Gramercieh Cont
" Property Inspestior and Repair 7 Flood Arce Mazary Zone : Other

© Seller Rapresentayons Seller Finandng Q Other

15. MISCELLANEQUs: The lerns of this Contact constiwte the &nura agreement beeen Boyer and Gellar,

Mndifications of thic Contact will ut be binding unlces jn writing, signed and delivered by the Party io be baund,

initials, decumenty raferenced in this Contra, Counterparts and writlan Modifications communicated

electranically or on Pa er wili be acceptable for all Aurpases, including delivery, and will be binding. Handwrinen or

lypewnten terns inserted in of atached to this Contract prevail avg, Préprinted terms, If any pravision of thi

becomes invalid ar Uneiforcezbies, eyt remaining provisions wifl continue to be fully effactive, Thig Contract will be canstruedt

Under Florida law and will aot be récorded in any public records. Delivery of any writien notice io any pany's agent will be

Géesned delivery to that party,

THIS IS INTENDED TG BE A LEGALLY BINDING CONTRacrt, LOT FULLY UNDERSTOOS, SHeK AE ABYa OR
REPEC dione aa ca Sy ROME AD SES Borate See OO SEEN THEADIOE
RESENTATONS H4AT ADE miom 6} : RTANT TO-THEM-AND 7G. GGNSULY apy a - FRRORRIATE PRESBSS ONAL Fe
OF-LAWS-ON THE

GORBS-UHLESS_g)
eaiet tS CLEC-SHSELLER_BRORE =
DEPOSIT RECEIpr. Deposit of § .

by cheek C) other received on
— _

oO
Signature of Escrow Ayent :
OFFER: Buyer offers 19 purchase the Property on the sbove icra and conditions, Unless Beceplance is signed by Seller

and a aigned Copy delivered w Buyer or Buyer's agent no laler than nn am, 01 pan. oe
, Buyer may. revake thig offer and receive a telund af all depouite.

CE
Date: of 7 LA “007 BUYER: SAL SE, Dye

: Tax!D Na: ‘
. . ————_
Tithe, Like Se af Telephone: 2 5 7 (2PoL Ye Facsimile: 3oa3 -2 S46 = CLR
Adaress: / ZL 2 De 7S Or wg Ae hs KBP Pt xe me. ELS 7

——

BUYER: Tax {D No: et

Faccimils;

Ads) esa:

Title: Telephone: _
ACCEPTANCE: Sellar accepts Buyer's offer and agrees ta sell the Property on the above lermis and conditens ( CG sudject
lo the atached counter affe ). . oe

oe aia {o7 SELLER: Lt. LH} Tax [D No:
Title! Try . . Fecsiraile:
Address: ~

Osie: . SELLER:
ee

Tile: Telaphone:
Addroas:

Télep

Tax {[D Na:

Facsimile:

Buyor ( __} end Setor ie Voy ) acknowlagge reeaigt of a copy of This page, which Js Page G of 3 Pages.
Tas Ansa Awsclotlon of Restore and local Bowral CCAUGN of Hadnera Take po rePrevahaien ae iu legal yolidjry or Bo equacy any Provizion of injs tstm in

anr creole vantacien, Tile SUNIaIS0¢ farm shoul plot be uted In camplax Wronaacdens of With oxtensjve tdera of addilions, Tnig fpr it availatig tor uae by the
end real esate Mastry and ig nor prendag'is sS2aly sam User ay = Realitr, Ruahoy io g Pogmiered collective imemcershis mark inal may de Uced Only by rad! wocnia
ICN2OGG WHO are Mambo of te Millene] aszaciout of Mogi Bia Wine aubscribe w te Code of Eines, .

Tha ccpyright ians of foo Uae Sag 3 (17 U2, Cody) tervid the “hauthorlns reprooueiion of xenk Iona by any magn Inabcing facclmile gp computcrizes forme,

O&2 8 1897 Stosicy Mezemiilion of Filo), Jul “SNK reterved, Lirpneed ig AQ StsrSorwate,

Software ang Andog Fermatitng' Co PYTight 2004 Aha Star-Soltware, Inc, All Righte Reservad, (395) 279.3892
Case 05-40913-LMI Doc 202 Filed 02/14/07 Page 15 of 22

ADDENOUM TO COMMERCIAL CONTRACT BETWEEN

JOEL L. TABAS, TRUSTEE FOR THE BANKRUPTCY ESTATE OF
MMH AUTOMOTIVE GRUUF LLC AND ROD RIFAI OR ASSIGNS

DELIGATION TO SELL AND PURCHASE: SELLER agrees lo sell to BUYER. and BUYER agrees to
purchase from SELIFR that certain real properly more particularly described in Exhibit “a’ atlached hereto
and incorporated herein, which consists of approximately 2726 acres, together with all buildings now or
hereafter situated thereon, and ail easements. Ways, rights of ingress and egress, riparian, mineral, oll and
938, Weter, and other rights, royattias, and rights of reverter, tenemsnts, hereditaments, privileges, and
appurtenances thereto belonging or In anywise appertaining, including, without limitation, all of SELLER's
right, title and Interest in and to all land lying in any street, road or avenue, open or proposed, adjoining Wie

Sald lands. Ali ofthe foregalng real property is hereafter referred to as the “Property.”

BREAKIIP FEE CONTINGENCY: The SELLER will seek approval trom the U.S, Barikruptcy Court, Sauthern
District of Florida (the “COURT’) ofa breakup fee in the amount of $1 0,000.00 (the ‘Breakup Fae") due to the

f8Spect to the purchase of the Property. The SELLER will $G@0K that any and all subsequent purchase otter(s)
on the Property, at the time of the hearing on the approval of tha sale described in this Commercial Contract,
be required to include the Breakup Fee as part of sald otters). The SELLER will seek approval te disburse

CONDITION: The Property subject to the commercial contract is being sald "AS 1S, WHERE |S" conditian.
The SELLER makes no warranties of any nature whether expressed or implled,

COURT APPROVAL: The terms and conditions of the Commercial Contract are Subject to approval by the
U.S. Bankruptcy Court, Southern District of Florida, Miam} Division,

RELI FR OBLIGATIONE: All of the SELLER'S obligations under the terme and canditiona of the Commercial
Contract are conditioned Upon the approval ofthe U.S. Bankruptey Caurt, Southern District of Florida, Miami

Division, if necessary,

DISPUTE RESOLUTION: Ia the Sventofany disputes arising out ofthe Cornmercial Contract, jurisdiction shall
be exclusively with the U.S. Bankruptcy Court, Southern District of Florida, Miarni Division,

DEPOSITS: All deposited money(s) shall be paid directly te the SELLER to be heid in a non interest bearing
8Scrow account by Tabas, Freedman, Soloff & Miller, P.A. until such time as the U,S. Bankruptcy Court
AaPProves the eale ofthe subject property, In the event that te depositis tortened by the BUYER(S), pursuant

to any of the default provisions of the Commercial Cantract, the SELLER shall retain all deposit(s) paid or
4g'€8 Io be paid by the BUYER(S) as agreed Upon,

PROPERTY TAXES, LIENS ano ENCUMBRANCES: Tha SELLER shall resolve any existing llens and
Encumbrances on the Property in accordance with the lien priority and the provisions ofthe Bankruptey Cadre.
pursuant (0 11 U.S.C, 8 724(b), .

MISCELLANEOUS: In the event of an adverse clalm ofa third party, or a title company requests additional!
auorizaton from the Bankruptcy Court for the sale and transfer of the subject pruperty, the SELLER'S
ovligations nereunder, deadlines, and tme for performance shall be abated or sUspended until such time as
the SELLER resolves Said issue or issues. However, sald obligations, Seadlines, and time for performance
shall not be extended more than forty-five (45) days, unlass agreed to by the BUYER and the SELLEK. In
the cvent ths SELLER js Unable or carinot obtain the Necessary court approval for the transfer of the subject
Properly, this cammercia! contract for sale and Purchase shall be null and void and each party shail bear their
respective costs and attorney's fees,

BUYER Zr’) ( ) and SELLER ( % )) acknowledge receipt ofa Copy of this Addendum to Commercial
Contract:
a16_40
Case 05-40913-LMI Doc 202 Fited62/14/07—Pageté-6

- EXHIBIT #4"

LOT 1, BLOCK 1, ZINN’S PERRINE, ACCORDING TO THE
PLAT TI ICREOF, AS RECORDED IN PLAT BOOK 135, PAGE

69, OF THE PUBLIC RECORDS OF MIAMI-DADE COUNTY,
FLORIDA

PARCEL IDENTIFICATION NUM BER: 3 0-5032-052-00 10

Case 05-40913-LMI Doc 202 Filed 02/14/07

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Miami, FL 33156

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6550

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Miami FL 33166

Airgas South
9030 NW 58th St
Miami FL. 33178

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Suite F 101
Plantation FL 33324

Barnes Distribution
Dept Ch 14709
Palatine IL 60055

Bennett Aiello Henry
McGuiness LLP

25 Southeast 2nd Ave
1045 Ingraham Blvd.
Miami FL 33134

Brothers Auto Transport
831 NW 7th Terr
Ft Lauderdale FL 33311

Care Pest
12032 SW 132 Ct.
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Miami FL 33166

Al s Gas Diesel Machine Shop
9820 SW 168th St
Miami FL 33155

Auto Trader
POB 932207
Atlanta GA 31193

BellSouth
POB 9004
Renton WA 98057

Blake Chevorlet Cadillac
30401 Soth Federal Hwy.
Homestead FL 33030

Caltex Protective Coating Inc
7455 Natural bridge Caverns Rd.
Schertz TX 78154

Castellano Appliances
8841 NW 145th Terr
Miami FL 33018

Citibank (USA) NA

Assoc/BP Amoco Payment Center
4300 Westown Pkwy

West Des Moines iA 50266

Page 17 of 22

John W Forehand, Esq
125 S Gadsden St #300
Tallahassee, FL 32301

A1 24 Hr Service
18995 SW 288th St
Homestead FL 33030

Air Equipment Specialties
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12745 SW 257th St
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Bellsouth Regional Bkc Center
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Central Auto Glass
9800 Bachman Rd.
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Classic Soft Trim
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Dallas TX 75284
Case 05-40913-LMI

Coastal Security Systems
701 Park Of Commerence Blvd NW
Boca Raton FL 33487

Culligan
POB 5277
Carol Stream IL 60197

Dealer Computer Services Inc
c/o David N Harvey Esq

909 Fannin #1225

Houston TX 77010

Drive Financial Group

C O Donald E Hill Esq
1700 Renaissance Tower
4201 Elm Street

Dallas TX 75270-2084

Enterprise Leasing Co.
11440 N Kendall Dr
PH 405

Miami FL 33176

Federal Express
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Florida Dept Of Agri Consumer
Charles Bronson Comm

The Capital

Tallahassee FL 32399

Florida Distributors
3646 23rd Ave 107
Lake Worth FL 33461

Frank Harris Displays
1151 NW 118" Avenue
Plantation, FL 33323-2523

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Two Datran Center Ste 1509
Miami FL 33156

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Color All Tehnologies
1520 North Powerline Rd.
Pompano Beach FL 33069

Daisy Solis

C O Captial One Finance
3901 Dallas parkway
Plano TX 75093

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POB 23088
Nashvilee TN 37202

Ebiz Autos
3450 Lakeside 304
Miramar FL 33027

Erodita Sanches

C o Powerd 1 Credit Union
2020 NW 150th Ave.
Pembroke Pines FL 33028

Federal Express Corporation
2005 Corporate Ave 2nd Fl
Memphis TN 38132

Florida Dept of Agriculture
Consumer Service

407 South Calhoun Street
Tallahassee FL 32399-6700

FP&L Co
POB 025209
Miami FL 33102

FreePort Auto
10880 SW 186th St
Miami FL 33177

H H Wrecker
17680 South Dixie Hwy.
Miami FL 33157

Page 18 of 22

Comp Options Insurance Comp
POB 44291
Jacksonville FL 32231]

Danny s Dealer Supplies
1037Okeechobee Rd 1
W Palm Beach FL 33401

Direct Industrial Supply
POB 2054
Folsom CA 95763

Emilio Leon

C O Dominick Sanchez Esq
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FDN Communications
POB 31457
Tampa FL 33631

Flaming Shop Service
205 NE 179th St
Miami FL 33162

Florida Dept of Revenue
5050 W Tennesseeée St
Tallahassee FL 32399

FPL
General Mail Faciltiy
Miami FL 33188

Global Pest Control
12530 SW 22nd Terr
Miami FL 33175

Halsey Griffith
1170 NW 163rd St
Miami FL 33169
Case 05-40913-LMI Doc 202 Filed 02/14/07

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Ste 440

Houston TX 77092

Jessifca Hernandez

C O Americredit Financial
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Arlington TX 76096

John C Allen

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Laura M Mallary

C O Wells Fargo Financial
2501 Seaport Drive Bh300
Chester PA 19013-1510

M Firenza

C O Centrix Fiancial
6782 S Potmac Street
Centennial CO 80112

Manheim Auctions Lauder Miami

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Davie FL 33314

Mark Kinard
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POB 026055
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6560 Powerline Rd.
Ft Lauderdale FL 33309

JC Mighty Dent Removal
7450 NW 17th St

Apt 303

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Joaguin Graupera

C O Hosuhold Auto Finance
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San Diego CA 92177

John Sacco
18010 SW 136th Ave
Miami FL 33177

Kent Automotive
POB 221406
Cleveland OH 44122

LQK Corporation
7295 Waeli Drive
Melbourne FL 32940

Manheim Auctions FL Auto Auction
11801 West Colonial Drive
Ocoee FL 34761

Manheim Auctions West Palm Beach
600 Sansbury Way
West Palm Beach FL 33411

McGard Inc.
3875 California Rd.
Orchard Park NY 14127

Miami-Dade County Tax Collector
140 W Flagler St # 1403
Miami FL 33130

Page 19 of 22

Imperial Auto Solvents Inc
95 West Hills Rd.
Huntington Station NY 11746

Jessie Wilson

C O Nuvell Financial Sev.
17500 Chenal Parkway
Ste 200

Little Rock AZ 72223

Joan Williams

C O Americredit Financeial
4001 Embarcadero Dr Ste 200
Arlington TX 76014

Jordan Body Shop
10475 SW 186th Lane
Miami FL 33157

Kressee Associates Inc
300 Courthouse Tower
44 West Flagke
Miami FL 33130

Luis Caceres

C O Pam Am Horizon CU
5820 Blue Lagoon Dr.
Miami FL 33126

Manheim Auctions Greater Tampa

401 South 50th St
Tampa FL 33619

Manheim Auticons Ceniral Florida

9800 Bachman Rd.
Orlanod FL 32826

McKeon Distributors
1901 Pierce St.
Hollywood FL 33020

Micheline Ducena
17781 SW 113 Ave.
Miami FL 33157
Case 05-40913-LMI

Midtown Towing
551 NW 72nd St
Miami FL 33150

. .
‘00 re 1B Se comp
Oo" Flees
MMiermi-Fk- 3342

Pathman Lewis LLP
One Biscayne Tower
2 South Biscayne
Miami FL 33131

Rafael Gonzales

C O national Auot Finace

17500 Chenal Parkway STe 200
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3500 Piedmont Rd NE, Suite 400
Atlanta GA 30305-1503

Showroom Promotion Inc
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Miami FL 33133

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Miami FL 33157

Suzette Kairuz

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Nuvox Communications of FL
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Sahana Parsard

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Arlingnton TX 76096

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12684 SW 8th St
Miami FL 33184

SouthEast Towing
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Princeton FL 33032

Tania Rodriguez

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14025 Riveredge dr.
Ste 170

Tampa FL 33637

The Flyer
POB 339
Brea CA 92822

Trader Publishing Co
POB 17359
Clearwater FL 33762

Page 20 of 22

Miranda Wilson

C O Naural Auot Finace
17796 American Hertiage Life
Jacksonville FL 32224

Office Depot
POB 66510
Houston TX 77266

Pollution Elimination Corp.
10762 SW 188th Street
Miami FL 33157

Reynolds Reynolds
POB 77061
Detroit Ml 43277

Santex Corporation
14780 SW 136th St
Miami FL 33196

South Motors
BMWHonda Suzuki
16185 South Dixie Hwy.
Miami FL 33157

Staples
POB 530621
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Tanmner L Davis

C O Hosuehold Auto Fin.
POB 17911

San Diego CA 92177

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CO Garry J Alhalel PA

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25 SE 2nd Avenue

Miami FL 33131

Trader Publishing Company
8782 Nw 18th Terr
Miami FL 33172
Case 05-40913-LMI

United Advertising Media
3351 Commerce Parkway
Mirmar FL 33025

Universal Computer Network Inc
POB 4346 Dept 536
Houston TX 77210

US Bancorp
POB 790448
St Louis MO 63179

Wheel Deco Corp.
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Miami FL 33155

Zarifa Portillo

C O Nuvell Financial Sev.
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Ste 200

Little Rock AZ 72223

Florida Department of Revenue
POB 6668

Bankruptcy Division
Tallahassee, FL 32314-6668

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Ralph Sam

clo Gregory M. Garno, Esquire
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